                                                                                           FILED
                                                                                  2025 Jun-12 PM 03:02
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

 LAKEISHA EZELL, as                         ]
 representative of the Estate of            ]
 Terrence Andrews,                          ]
                                            ]
       Plaintiff,                           ]      Case No.: 4:20-cv-2058-ACA
                                            ]
 v.                                         ]
                                            ]
 JEFFERSON DUNN, et al.,                    ]
                                            ]
       Defendants.                          ]



 LORI GUY WILLS, as                         ]
 administrator of the Estate of Steven      ]
 Mullins,                                   ]
                                            ]
       Plaintiff,                           ]       Case No.: 4:21-cv-264-ACA
                                            ]
 v.                                         ]
                                            ]
 JEFFERSON DUNN, et al.,                    ]
                                            ]
       Defendants.                          ]

                           ORDER TO SHOW CAUSE

      All defendants in this case move for summary judgment. Prior to these filings,

the court directed the parties to specifically cite the evidence they contend supports

the facts proffered. (Ezell doc. 125 at 2; Guy doc. 96 at 2).
       In support of their motions for summary judgment, Defendants Jefferson

Dunn, Grantt Culliver,1 Edward Ellington, and Karla Jones (together, “the

Administrative Supervisors”) submitted evidence and thereafter filed briefs in which

they proffer narrative statements of material, “undisputed facts” along with the

citations that they contend support those facts. (Ezell docs. 183, 185; Guy docs. 160).

In response to the Administrative Supervisors’ briefs, Plaintiffs in these two cases

filed their respective responses disputing some of the facts the Administrative

Supervisors represented to be undisputed. (Ezell doc. 385; Guy doc. 363). Plaintiffs

later filed motions to strike the expert opinions upon which all defendants rely in

their respective briefs. (Ezell doc. 384; Guy doc. 368).

       The court has reviewed the briefing related to the Administrative (and

Facility) Supervisors’ motions for summary judgment, the briefing on Plaintiffs’

motions to strike, and two expert depositions. The court finds that the Administrative

Supervisors’ narratives of “undisputed facts” include statements that cite only to the

“Factual Background” section of an expert’s reports, but the “Factual Background”

in that expert’s reports cite to materials that the expert did not review. (See Ezell doc.

348 at 19–20; Guy doc. 351 at 19–20). The court also finds that at least one expert

report refers only to select portions of a document it cites and flatly ignores portions



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         The court notes that Associate Commissioner Culliver is a remaining defendant in Guy,
not Ezell.

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of the same document that substantially undermine or contradict the expert’s

opinion. Moreover, that specific document is otherwise included in the

Administrative Supervisors’ evidentiary submission, which suggests that the

decision to cite to the expert report and not the document itself was an intentional

decision made for the purpose of misleading the court. In addition, the court

identified at least one “undisputed fact” in the Administrative Supervisors’ brief for

which the court cannot find any basis in their evidentiary submission despite its best

efforts.

       But that is not all. The Administrative Supervisors filed their brief in support

of summary judgment before the deposition of one of its experts. At that deposition,

the expert repeatedly and unequivocally stated that the basis for one of his opinions

was a fact that is—indisputably—incorrect. Despite this, the Administrative (and

Facility) Supervisors oppose Plaintiffs’ motions to strike because they contend,

among other things, that the expert’s opinion on this issue “offers reliable and

factually sound opinions.” (Guy doc. 381 at 2; see also Ezell doc. 396 at 18).

       In light of the foregoing, the court ORDERS Defendants to SHOW CAUSE,

at the hearing set for June 18, 2025 at 10:00 a.m., why the court should not sanction

Defendants and/or counsel for Defendants for the misrepresentations discussed

above under Federal Rule of Civil Procedure 11, the court’s inherent authority, Local




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Rule 83.1(f), and/or Alabama Rule of Professional Conduct 3.3 for making false

statements of fact to the court.

      The court ORDERS all counsel of record for Defendants TO ATTEND the

hearing. The court ORDERS Defendants’ expert, Kevin Myers, TO ATTEND the

hearing.


      DONE and ORDERED this June 12, 2025.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE




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